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 7
                                UNITED STATES DISTRICT COURT
 8
                               WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 9

10      UNITED STATES OF AMERICA,                          CASE NO. CR12-5039 RBL

11                             Plaintiff,                  ORDER ON REVIEW OF MOTION
                                                           TO RECUSE
12             v.

13      KENNETH WAYNE LEAMING, et al.,

14                             Defendant.

15

16          Before this Court is Defendant Leaming’s motion for recusal (Dkt. No. 199) and Judge

17 Leighton’s order declining to recuse himself. Dkt. No. 202. The motion has been transferred to

18 this Court for review in accordance with Local Rule GR 8(c).

19          Upon consideration of the motion and all relevant documents in this matter, the Court

20 affirms Judge Leighton and DENIES the motion to recuse.

21                                            DISCUSSION

22          Pursuant to 28 U.S.C. § 455(a), a judge of the United States shall disqualify himself in

23 any proceeding in which him impartiality “might reasonably be questioned.” A federal judge

24 also shall disqualify himself in circumstances where he has a personal bias or prejudice

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 1 concerning a party or personal knowledge of disputed evidentiary facts concerning the

 2 proceeding. 28 U.S.C. § 455(b)(1).

 3          Under both 28 U.S.C. §144 and 28 U.S.C. § 455, recusal of a federal judge is appropriate

 4 if “a reasonable person with knowledge of all the facts would conclude that the judge’s

 5 impartiality might reasonably be questioned.” Yagman v. Republic Insurance, 987 F.2d 622, 626

 6 (9th Cir.1993). This is an objective inquiry concerned with whether there is the appearance of

 7 bias, not whether there is bias in fact. Preston v. United States, 923 F.2d 731, 734 (9th

 8 Cir.1992); United States v. Conforte, 624 F.2d 869, 881 (9th Cir.1980). In Liteky v. United

 9 States, 510 U.S. 540 (1994), the United States Supreme Court further explained the narrow basis

10 for recusal:

11          [J]udicial rulings alone almost never constitute a valid basis for a bias or partiality
            motion. . . . [O]pinions formed by the judge on the basis of facts introduced or
12          events occurring in the course of the current proceedings, or of prior proceedings,
            do not constitute a basis for a bias or partiality motion unless they display a deep
13          seated favoritism or antagonism that would make fair judgment impossible. Thus,
            judicial remarks during the course of a trial that are critical or disapproving of, or
14          even hostile to, counsel, the parties, or their cases, ordinarily do not support a bias
            or partiality challenge.
15

16 Id. at 555.

17          While the basis for Defendant’s motion is not exceedingly clear, it is apparent that he

18 believes that Judge Leighton’s rulings (or failures to rule) on certain of Defendant’s motion in

19 the above-entitled matter are in error: “[Judge Leighton] continues to interfere with the effective

20 and expeditious administration of the business of the courts by willfully and persistently failing

21 to perform [his] DUTIES, inclusive of the DUTY to hear and make any finding of FACT and

22 Conclusions of LAW as to the several elements of jurisdiction as clearly established and set

23 forth….” Motion, pp. 5-6 (citations omitted).

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 1          A judge’s conduct in the context of pending judicial proceedings does not constitute the

 2 requisite bias under 28 U.S.C. § 144 or § 455 if it is prompted solely by information that the

 3 judge received in the context of the performance of his duties. Bias is almost never established
     simply because the judge issued an adverse ruling.
 4
            In order to overcome this presumption, Plaintiff would have to show that facts outside the
 5
     record influenced decisions or that the presiding judicial officer’s rulings were so irrational that
 6
     they must be the result of prejudice. Plaintiff does not allege any facts outside the record that
 7
     improperly influenced the decisions in this matter. Plaintiff has identified no error of law, and a
 8 review of Judge Leighton’s rulings in this matter reveals no orders that were so outlandish or

 9 irrational as to give rise to an inference of bias.

10          Plaintiff may disagree with Judge Leighton’s rulings but that is a basis for appeal, not

11 disqualification. As Plaintiff has cited no extrajudicial source of bias, the Court finds that Judge

12 Leighton’s impartiality cannot reasonably be questioned. There being no evidence of bias or
     prejudice, Plaintiff’s request for recusal is DENIED.
13

14
                                               CONCLUSION
15
            There is no reasonable basis for a voluntary recusal in this instance.
16
            Accordingly it is hereby ORDERED that the undersigned DENIES Defendant’s motion
17
     for Judge Leighton to recuse himself in this case.
18
            The clerk is ordered to provide copies of this order to Defendant and to all counsel.
19
            Dated this 3rd day of April, 2013.
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22
                                                             A
                                                             Marsha J. Pechman
                                                             United States Chief District Judge
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